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                                                        EXHIBIT 1




                                                        EXHIBIT 1
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      Rachel Love, Bar No. 019881
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 8    Attorneys for Defendants
 9                             UNITED STATES DISTRICT COURT
10                                 DISTRICT OF ARIZONA

11    Victor Parsons, et al., on behalf of themselves     NO. 2:12-cv-00601-ROS
      and all others similarly situated; and Arizona
12    Center for Disability Law,
                                              Plaintiffs, DECLARATION OF DANIEL P.
13                   v.                                   STRUCK

14    Charles Ryan, Director, Arizona Department
      of Corrections; and Richard Pratt, Interim
15    Division Director, Division of Health Services,
      Arizona Department of Corrections, in their
16    official capacities,
                                          Defendants.
17
             I, DANIEL P. STRUCK, make the following Declaration:
18
             1.     I am over the age of 18 years and have personal knowledge of and am
19
     competent to testify to the matters set forth in this Declaration.
20
             2.     I am an attorney licensed to practice in the State of Arizona and have
21
     practiced in Arizona for 31 years. I am a managing partner of Struck Love Bojanowski
22
     Acedo (“Struck Love”) and counsel of record for Defendants in Parsons, et al. v. Ryan, et
23
     al.
24
             3.     On Thursday, October 3, 2019 at approximately 12:15 PM, we were
25
     informed that Dr. Stern was planning to remove a section and a table from his report that
26
     detailed 508 performance measures he had determined could be terminated from the
27
     Stipulation as they were compliant within the terms of Paragraph 10(b) of the Stipulation.
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 1   Dr. Stern had been working on this section and table for several months, in part pursuant to
 2   his analysis as to the accuracy of the monitoring of the performance measures by ADC’s
 3   Health Services Contract Monitoring Bureau. The report was submitted to the Court by
 4   Dr. Stern on Thursday, October 3, 2019 at 5:11 PM.
 5           4.     On Friday, October 4, 2019, I contacted Dr. Stern to find out why he had
 6   decided not to include this section of his report and the accompanying table. Based upon
 7   my conversation with Dr. Stern, it was my understanding that Plaintiffs’ counsel had
 8   objections with this section of the report, precipitating his decision to remove the section
 9   and table from the report. And, while he believed that these objections could be overcome,
10   Dr. Stern was concerned that addressing the objections would delay the report to the Court,
11   which he was not inclined to do.      It was also my understanding that Dr. Stern had a
12   secondary concern that this section of the report might be outside the scope of his duties as
13   defined by the Court. I informed Dr. Stern that Defendants believed that determining
14   which performance measures should be terminated from the Stipulation were within the
15   scope of his duties, and that the Court and parties would benefit if it were included. I told
16   Dr. Stern that Defendants intended to provide this information to the Court by filing a
17   notice which attached the omitted section and table.
18           5.     Based on my conversation with Dr. Stern, it was my understanding that he
19   had no objection to Defendants filing this section of his report and the accompanying table
20   with the Court, but hoped that the parties could address whatever the Plaintiffs’ objections
21   were to this section of the report and the table identifying the 508 performance measures
22   that should be terminated from the Stipulation.
23           6.     Attached hereto as Attachment A are true and correct excerpts of Dr. Stern’s
24   September 30, 2019 draft report presented in comparison format showing deleted portions
25   in redline format.
26
27
28

                                                   2
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 1         I declare under penalty of perjury that the foregoing is true and correct.
 2         Executed this 7th day of October, 2019.
 3
 4                                                    _______________________________
                                                      DANIEL P. STRUCK
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                                              ATTACHMENT A




                                              ATTACHMENT A
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                                           Introduction

Charge and Report Organization
This report is provided to the Court in my capacity as an expert pursuant to Federal Rule of
Evidence 706 in the case of Parsons v. Ryan, et al. and provides responses to four charges
contained in two orders issued by the Court. (Doc. 3089 and 3231) The report is organized as
follows.

Part I addresses the issue of whether there are “irregularities or errors in the monitoring process
that produces the compliance numbers for the Stipulation’s 103 health care Performance
Measures and undermine confidence in their validity” and if “any aspect of the monitoring
process is unreliable or inaccurate, [provides] written recommendations of remedial measures to
correct any identified deficiencies.” (Doc. 3089)

Part IA presents recommendations for the retirement, collapse, or modification of Performance
Measures (PM). Though not directly anticipated by the Court or by me during the initial stages
of my work on this review, it became obvious that while some PMs were not reported
inaccurately , the Court should be aware of an issue with them because, in the best interests of
this case, one or both Parties, or the health of residents of the Arizona Department of Corrections
(ADC), the PMs themselves require some remedial action. As explained in more detail in Part
IA, this Part is responsive, albeit indirectly, to the Court’s charges.

Part IB presents my summary of the termination status of all the PMs in this case.

Part II presents evidence of “how any failure to successfully perform on PMs poses a significant
risk of serious harm to patients due to health care delivery that falls below the community
standard of care.” (Doc. 3194-1 at 4)” to determine “Consistent with the Stipulation and the
Court’s January 31, 2017 Order, … whether ‘there is a practice of substantially departing from
the standard of care.’ (Doc. 3127).” (Doc 3231)

Part III presents my evaluation of “substantial noncompliance with critical aspects of health care
delivery including access to prescription medications, diagnostic testing, routine and specialty
physician consultations, treatment for chronic health care problems, and emergency care (Doc.
2905),” “the barriers to compliance and propose[d] written recommendations to alleviate them.”
(Doc. 3089)

Part IV addresses “whether the PMs by themselves accurately reflect the adequacy of the care
being provided to prisoners.” (Doc. 3194-1 at 4),” which “analysis likely will assist
the Court in tailoring the appropriate remedial measures.” (Doc. 3231) In accordance with the
Court’s indulgence in its order, Part IV will be produced separately, but should be considered an
integrated part of this (single) report.


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            Part IA - Retirement, Collapsing, or Modifying Measurement of PMs

In the following section I recommend the retirement, collapse, or modification of PMs. This is
responsive, albeit indirectly, to the Court’s instruction in three ways. First, the Court seeks
recommendations for alleviating causes of, or barriers to, compliance with the PMs. Compliance
with, and monitoring of, the PMs drives much workload for both ADC and the vendor. To the
extent that compliance with a given PM does not improve patient safety, continued measurement
of that PM diverts valuable resources away from achieving compliance with the remaining PMs.
Thus these non-value-added PMs contribute to non-compliance. Second, the Court seeks
evidence of how failures to successfully perform on PMs pose a risk of harm. This inquiry,
addressed in Part II of my report, indirectly begs the question of whether there are PMs, failure
of which do not post a risk of harm. Third, in Part IV of my report, I will be addressing the
question “whether the PMs by themselves accurately reflect the adequacy of the care being
provided to prisoners,” an analysis which the Court states “will assist the Court in tailoring the
appropriate remedial measures.” In that analysis I will identify gaps in measuring the adequacy
of the care being provided to prisoners. In the event that that gap analysis leads the Court to
introduce new PMs, it is only fair to reduce the work load burden of PM monitoring by removing
less useful or non-useful ones.



I have included some PMs in this section which, elsewhere, I recommend for termination on the
merits (i.e., compliance). I included them here in the event that the Court does not terminate
them on the merits alone.


PM 12 (Medical record will contain documentation of refusals or “no shows.”)
      Issue:
      This PM is conceptually flawed in two ways. First, it legitimizes a behavior (“no show”)
      that should not be acceptable in a prison environment. Staff should always know where
      patients are and policy should require that either patients present themselves to the locus
      of medication administration or the medical staff arrange for the patient to receive the
      medications in an alternative location (e.g. legal visit, classroom, court). In a prison
      environment, failure of a patient to present for medication administration (or, in fact, any
      other scheduled health-related activity) cannot be assumed to be volitional on the part of
      the patient. Indeed, there can be other reasons such as: COs coerced the patient to no
      show; other residents coerced the patient to no show; the patient is suffering a side effect
      of the medication and is unable to show.

       Second, it encourages a behavior (having the nurse have the patient sign a refusal form)
       that is counterproductive (and unnecessary). It is counterproductive because it messages
       to nurses that when a patient refuses a medication, the nurses’ responsibility to the patient
       has been discharged by signing the form. In fact, for medications where missed (refused)

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Master List
The landscape of 103 PMs at 10 facilities over more than 49 months is quite complicated and
figuring out which PMs have been successfully completed in accordance with the Stipulation has
consumed much of the Parties’ and Courts’ time. I thought it would be helpful to the Court to
consolidate the current standing of PM performance at this point in time, as I see it. To that end, I
have included as Exhibit 2 a table showing each of the 1,030 PM/complex pairs and their current
status with regard to termination. It shows PMs which have already been terminated by the Court
or which the Court recognized should not be measured because they are not applicable (e.g.
prenatal care at a men’s facility). It also shows PMs which, in my opinion, have met the
requirements of the Stipulation, and indicates where there is agreement/disagreement by the
Parties. Finally, it shows some contingent terminations or retirements53, i.e., those PMs which
would be terminable or retireable contingent on the Court’s decisions on my recommendations,
and, in some cases, the result of retrospective re-auditing following those recommendations.54            Formatted: Font: Bold




53
   I use the word retirement for those PMs which should be closed out because they can be
replaced by another PM or are no longer worth monitoring. This is in contrast to termination
which is closing out a PM for cause, i.e. it has met the requirements of the Stipulation for
termination.
54
   In their response to the draft of this report, Plaintiffs reiterate their support for termination or
retirement contingent on adoption of related recommendations I have made elsewhere in this
report. Defendants’ position is that “The termination of PMs is not a quid pro quo of Defendants’
agreements to all recommendations made in the report.”
                                                                                                    82
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                                                                                                           Cell          Meaning
                For ease of drafting/editing, if you disagree                                                √           Already terminated by the Court
                with any of my recommendations here,                                                        n/a          PM not applicable to this complex because it does not house relevant population (some of these have been explicitly terminated by the Court because of the non-applicability).
                                                                                                             √           I recommend for termination; both parties concur.
                please do not mess with these 2 choices.
                                                                                                   √ If Rec X accepted I recommend retirement/termination contingent on the Court's acceptance of the recommendation cited.
                Instead, just highlight the cell in red and feel
                                                                                                  √ If Rec X re-audit OK I recommend retirement/termination contingent on the Court's acceptance of the recommendation cited and subsequent success on re-audit.
                free to use the Comments box to explain (or
                                                                                                           √-P           I recommend for termination, but only Plaintiffs concur.
                explain in the relevant section of the report
                                                                                                           √-D           I recommend for termination, but only Defendants concur.
                                                                                                                         Has not yet met the criteria for termination, both parties concur.


                                     Douglas             Eyman                   Florence                  Lewis                          Perryville               Phoenix                  Safford                Tucson                  Winslow                  Yuma           Comments for Marc for any red cells
1    Each ASPC will maintain, at a     √                                            √                        √                                √                        √                       √                      √                        √                      √
2    Each ASPC will maintain, at a                          √                       √                        √                                √                        √                                              √                                               √
3    Dental staffing will be mainta             √           √                       √                        √                                √                        √                       √                      √                        √                      √
4    Infirmary staffing will be main           n/a         n/a                                               √                                √                       n/a                     n/a                     √                       n/a                    n/a
5    Medical Records will be accur              √           √                                  √                                              √                                                √                      √                        √
6    Provider orders will be noted              √                                                                                             √                                                √                                               √
7    Medical record entries will be             √                      √                       √                       √                      √                        √                       √                      √                        √                      √
8    Nursing protocols/NETS will                √                      √                       √                       √                      √                        √                       √                      √                        √                      √
9    SOAPE format will be utilized              √                      √                       √                       √                      √                        √                       √                      √                        √                      √
10   Each patient's medical record              √                      √                       √                       √                      √                        √                       √                      √                        √                      √
11   Newly prescribed provider-or               √                                              √                                              √                        √                       √                      √                        √                      √
12   Medical record will contain do             √            √ If Rec 32 accepted √ If Rec 32 accepted √ If Rec 32 accepted                   √                        √                       √                      √                        √                      √
13   Chronic care and psychotropic              √                      √                       √                       √                      √                        √                       √                      √                        √                      √
14   Any refill for a chronic care o            √                      √                       √                       √                      √                        √                       √                      √                        √                      √
15   Inmates who refuse prescribed              √                                              √                                              √                        √                                              √                        √                      √
16   Perpetual inventory medicatio              √            √ If Rec 34 accepted              √             √ If Rec 34 accepted             √                        √             √ If Rec 34 accepted             √                        √
17   The Medication Administratio               √                      √                       √                       √                      √                        √                       √                      √                        √                      √
18   Daily delivery manifests will b            √                      √                       √                       √                      √                        √                       √                      √                        √                      √
19   Perpetual inventory medicatio              √            √ If Rec 36 accepted              √             √ If Rec 36 accepted             √              √ If Rec 36 accepted              √                      √                        √                      √
20   Medical AIMs entries are accu              √                      √             √ If Rec 37 accepted √ If Rec 37 accepted                √                        √                       √                      √                                               √
21   Inmates who are paroled or re              √                      √                       √                       √                      √                        √                       √                      √                        √                      √
22   Non-formulary requests are re              √                      √                       √                       √                      √                        √                       √                      √                        √                      √
23   Automated External Defibrilla              √                                              √                                              √                        √                       √                      √                        √                      √
24   Emergency medical response                 √                                                                                             √                                                √                      √
25   A first responder trained in Ba √ If Rec 18.1 accepted            √                       √                       √            √ If Rec 18.1 accepted             √            √ If Rec 18.1 accepted            √             √ If Rec 18.1 accepted √ If Rec 18.1 accepted
26   Responses to health care griev                                    √                                                                      √                        √                       √
27   Each ASPC facility will condu              √                      √                       √                                              √                        √                       √                      √                        √                      √
28   Every medical provider will u              √                      √                       √                       √                      √                        √                       √                      √                        √                      √
29   Each ASPC facility Director o              √                      √                       √                       √                      √                        √                       √                      √                        √                      √
30   The initial mortality review of                                   √                       √                       √                                                                                              √
31   Mortality reviews will identify                                                                                                          √                                                                       √
32   A final independent clinical m                                    √                       √                       √                                                                                              √
33   All inmates will receive a hea           n/a                                            n/a                     n/a                      √                        √                      n/a                     √                      n/a                     n/a
34   A physical examination includ            n/a                                            n/a                     n/a                      √                        √                      n/a                     √                      n/a                     n/a
35   All inmate medications (KOP                √                                                                                             √                        √                       √                                               √
36   A LPN or RN will screen HN   √ If Rec 7&10 re-audit √o If Rec 7&10 re-audit √o If Rec 7&10 re-audit √o If Rec 7&10 re-audit √o If Rec 7&10 re-audit √o If Rec 7&10 re-audit √o If Rec 7&10 re-audit √o If Rec 7&10 re-audit √o If Rec 7&10 re-audit √o If Rec 7&10 re-audit ok
37   Sick call inmates will be seen √ If Rec 10 re-audit ok                        √ If Rec 10 re-audit ok                         √ If Rec 10 re-audit ok √ If Rec 10 re-audit ok √ If Rec 10 re-audit ok √ If Rec 10 re-audit ok √ If Rec 10 re-audit ok √ If Rec 10 re-audit ok
38   Vital signs, to include weight,            √                      √                       √                       √                      √                        √                       √                      √                        √                      √
39   Routine provider referrals wil √ If Rec 10 re-audit ok                                                                        √ If Rec 10 re-audit ok √ If Rec 10 re-audit ok √ If Rec 10 re-audit ok √ If Rec 10 re-audit ok √ If Rec 10 re-audit ok √ If Rec 10 re-audit ok
40   Urgent provider referrals are s                                                                                   √                      √                        √                                              √                        √                      √
41   Emergent provider referrals ar             √                      √                       √                       √                      √                        √                       √                      √                        √                      √
42   A follow-up sick call encount              √                                                                                             √                        √                       √                      √
43   Inmates returning from an inp              √                      √                       √                       √                      √                                                √                      √                        √                      √
44   Inmates returning from an inp √ If Rec 19 re-audit ok                                                                         √ If Rec 19 re-audit ok
45   On-site diagnostic services wi             √                                              √                       √                      √                        √                       √                      √                        √                      √
46   A Medical Provider will revie                                                                                                                                                                         √ If Rec 21 re-audit ok √ If Rec 21 re-audit ok
47   A Medical Provider will comm                                                                                                                                                                                                              √
48   Documentation, including the               √                      √                                               √                      √                        √                       √                                               √                      √
49   Patients for whom a provider’              √                                                                      √                      √                        √                       √                                               √
50   Urgent specialty consultations √ If Rec 5 re-audit ok                                                  √ If Rec 5 re-audit ok √ If Rec 5 re-audit ok √ If Rec 5 re-audit ok √ If Rec 5 re-audit ok                             √ If Rec 5 re-audit ok
51   Routine specialty consultation √ If Rec 5 re-audit ok                                                  √ If Rec 5 re-audit ok            √                        √                                                            √ If Rec 5 re-audit ok √ If Rec 5 re-audit ok
52   Specialty consultation reports             √                                                                                             √                                                √                                               √
53   Treatment plans will be devel              √                      √                       √                                              √                                                √                                                                      √
54   Chronic disease inmates will b             √            √ If Rec 24 accepted √ If Rec 24 accepted √ If Rec 24 accepted                   √                        √                       √                      √                        √                      √
55   Disease management guidelin                √                                                                                             √                        √                       √                      √                        √
56   Inmates with a chronic disease             √                      √                       √                       √                      √                        √                       √                      √                        √                      √
57   A Medical Provider will order             n/a                    n/a                     n/a                     n/a                     √                       n/a                     n/a                    n/a                      n/a                    n/a
58   Results of an inmate's prenata            n/a                    n/a                     n/a                     n/a                     √                       n/a                     n/a                    n/a                      n/a                    n/a
59   Inmates will be screened for T             √                                              √                                              √                        √                       √                      √                        √                      √
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60    All female inmates ages 21 to    √                     √                        √                        √                       √                       n/a                       √                       √                        √                          √
61    All female inmates ages 21 to    √                     √                        √                        √                       √                        √                        √                       √                        √                          √
62    All prisoners are screened for  n/a                                            n/a                      n/a                      √                        √                       n/a                      √                       n/a                        n/a
63    In an IPC, an initial health assn/a                            n/a              √                        √                       √                       n/a                      n/a                      √                       n/a                        n/a
64    In an IPC, a Medical Provider   n/a                            n/a              √                        √                       √                       n/a                      n/a                      √                       n/a                        n/a
65    In an IPC, a written history an n/a                            n/a              √                        √                       √                       n/a                      n/a                      √                       n/a                        n/a
66    In an IPC, a Medical Provider   n/a                            n/a                                       √                       √                       n/a                      n/a                                              n/a                        n/a
67    In an IPC, Registered nurses w  n/a                            n/a                                                               √                       n/a                      n/a                                              n/a                        n/a
68    In an IPC, Inmate health recor  n/a                            n/a                      √                                        √                       n/a                      n/a                          √                   n/a                        n/a
69    In an IPC, nursing care plans w n/a                            n/a                                              √                √                       n/a                      n/a                          √                   n/a                        n/a
70    All IPC patients have properly  n/a                            n/a                      √                       √                √                       n/a                      n/a                          √                   n/a                        n/a
71    Inmates with diagnosed and d     √                              √                       √                       √                √                        √                        √                           √                    √                          √
72    Inmates who refuse prescribed                                                                                   √                                                                                              √                                               √
73    All MH-3 minor prisoners sha           n/a                     n/a                     n/a                     n/a                      √                     n/a                     n/a                      √                      n/a                     n/a
74    All female prisoners shall be s         √                       √                       √                       √                       √                     n/a                      √                       √                       √                       √
75    A mental health assessment of          n/a                                             n/a                     n/a                      √                                             n/a                      √                      n/a                     n/a
76    If the initial mental health ass       n/a                                             n/a                     n/a                                                                    n/a                      √                      n/a                     n/a
77    Mental health treatment plans          n/a                      √                       √                       √                       √                      √                      n/a                                             n/a                      √
78    All mental health treatment pl         n/a                      √                       √                       √                       √                      √                      n/a                      √                      n/a                      √
79    If a prisoner's mental health tr       n/a                      √                       √                       √                       √                      √                      n/a                      √                      n/a                      √
80    MH-3A prisoners shall be see           n/a                      √                       √                       √                       √                      √                      n/a                      √                      n/a                      √
81    MH3-A prisoners who are pre            n/a                      √                       √                       √                       √                      √                      n/a                      √                      n/a                      √
82    MH-3B prisoners shall be seen          n/a                      √                       √                       √                       √                      √                      n/a                      √                      n/a                      √
83    MH-3B prisoners who are pre            n/a                      √                       √                       √                       √                                             n/a                      √                      n/a                      √
84    MH-3C prisoners shall be seen          n/a                      √                       √                       √                       √                                             n/a                      √                      n/a                      √
85    MH-3D prisoners shall be see           n/a           √ If Rec 27 re-audit ok √ If Rec 27 re-audit ok √ If Rec 27 re-audit ok √ If Rec 27 re-audit ok                                  n/a           √ If Rec 27 re-audit ok           n/a           √ If Rec 27 re-audit ok
86    MH-3D prisoners shall be see           n/a           √ If Rec 30 re-audit ok √ If Rec 30 re-audit ok √ If Rec 30 re-audit ok √ If Rec 30 re-audit ok                                  n/a           √ If Rec 30 re-audit ok           n/a           √ If Rec 30 re-audit ok
87    MH-4 prisoners shall be seen           n/a                      √                       √                      n/a                      √                      √                      n/a                      √                      n/a                     n/a
88    MH-4 prisoners who are presc           n/a                      √                       √                      n/a                      √                      √                      n/a                      √                      n/a                     n/a
89    MH-5 prisoners shall be seen           n/a                     n/a                     n/a                     n/a                     n/a                     √                      n/a                     n/a                     n/a                     n/a
90    MH-5 prisoners who are presc           n/a                     n/a                     n/a                     n/a                     n/a                     √                      n/a                     n/a                     n/a                     n/a
91    MH-5 prisoners who are activ           n/a                     n/a                     n/a                     n/a                     n/a                     √                      n/a                     n/a                     n/a                     n/a
92    MH-3 and above prisoners wh            n/a                      √                       √                       √                                              √                      n/a                      √                      n/a                     n/a
93    Mental health staff (not to inc        n/a                      √                       √                       √                                              √                      n/a                                             n/a                     n/a
94    All prisoners on a suicide or m         √                       √                                               √                       √                      √                       √                       √                       √                       √
95    Only licensed mental health st                                  √                                               √                       √                      √                                               √                                               √
96    A reentry/discharge plan shall         n/a                      √                       √                       √                       √                      √                      n/a                      √                      n/a                      √
97    A mental health provider treat                                  √                       √                       √                       √                      √                                               √                                               √
98    Mental health HNRs shall be√r If Rec 7&12 re-audit √
                                                         o If Rec 7&12 re-audit √o If Rec 7&12 re-audit √o If Rec 7&12 re-audit √o If Rec 7&12 re-audit √o If Rec 7&12 re-audit √o If Rec 7&12 re-audit √o If Rec 7&12 re-audit √o If Rec 7&12 re-audit √o If Rec 7&12 re-audit ok
99    Peer reviews shall be conduct          n/a                      √                       √                       √                       √                      √                      n/a                      √                      n/a                      √
100   Prisoners on the routine denta                                  √                                                                                                                                                                                              √
101   Dental assistants will take inm         √                       √                       √                       √                       √                      √                       √                       √                       √                       √
102   Routine dental care wait times          √                       √                       √                       √                       √                      √                       √                       √                       √                       √
103   Urgent dental care wait times,          √                       √                       √                       √                       √                      √                       √                       √                       √                       √
